                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TENNESSEE
                                  AT GREENEVILLE


UNITED STATES of AMERICA                               )
                                                       )
       v.                                              )      No. 2:07-CR-78
                                                       )      JUDGE GREER
BRIAN RUSSELL GRICE                                    )




                     UNITED STATES’ SENTENCING MEMORANDUM


       The United States of America, by and through James R. Dedrick, United States Attorney

for the Eastern District of Tennessee, submits that the presentence report for BRIAN RUSSELL

GRICE correctly describes the pertinent sentencing factors of 18 U.S.C. § 3553(a), the correct

advisory guideline calculation of 360 months to life incarceration pursuant to U.S.S.G. § 2G2.2

and correct criminal history level calculation of II, subject to a mandatory minimum term of five

years imprisonment as required by 18 U.S.C. § 2252A(a)(2) and a mandatory minimum term of

ten years imprisonment as required by 18 U.S.C. Sec. 2422(b). Restitution is a consideration and

the defendant has the present ability to pay a fine.

       The following subdivisions of 18 U.S.C. § 3553(a) are relevant to sentencing.

       1a.     The nature and circumstances of the offense.

       Pursuant to a superseding indictment, the defendant was indicted on three counts of child

pornography and one count of using a means of interstate commerce to induce a minor to engage

in illegal sexual activity. He pled guilty to the receipt of child pornography and forfeiture of the

computer and accessories used to access the child pornography and the charge which related to

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Case 2:07-cr-00078-JRG-DHI Document 60 Filed 08/15/08 Page 1 of 7 PageID #: 67
using a means of interstate commerce to induce a minor to engage in illegal sexual activity. The

United States agreed to dismiss the remaining two counts for possession of child pornography

and distribution of child pornography. The defendant stipulated in the plea agreement that the 26

videos and 15 still images on his computers and storage media are child pornography as defined

by 18 U.S.C. § 2256(8) and the probation officer confirmed this stipulation when she viewed a

sampling of the images. The defendant stipulated that he received 1,965 images of child

pornography by means of interstate commerce.

       The defendant stipulated that the United States can prove by a preponderance of the

evidence that the defendant engaged in a pattern of activity involving the sexual abuse or

exploitation of a minor, including sexual acts with a minor who had not attained the age of 12

years at the time the acts were committed.

       1b. The history and characteristics of the defendant.

       The defendant is a thirty-five-year-old computer specialist. The presentence report

exhaustively details the defendant’s deviant sexual behavior, which includes the systematic

grooming of his stepdaughter for his sexual gratification, beginning when the child was eight

years old and continuing until the day before he was arrested on January 26, 2007. The

defendant carefully cultivated a relationship of trust between himself and his stepdaughter and

carefully desensitized her to the enormity of the unconscionable acts he visited upon her.

       The defendant owned a very large child pornography collection which fed and drove his

deviant sexual victimization of his stepdaughter. He used the child pornography to disarm the

victim’s natural defenses by portraying child sexual activity as normal. He obtained most of the

child pornography via the internet, and used the internet to schedule his sexual sessions with the


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Case 2:07-cr-00078-JRG-DHI Document 60 Filed 08/15/08 Page 2 of 7 PageID #: 68
child. The child pornography, the internet, and the sexual victimization of his stepdaughter are

part and parcel of his utter and complete depravity.

       2A. The need for the sentence to reflect the seriousness of the offense, to promote
respect for the law, and to provide just punishment for the offense.

       Congress has repeatedly evinced its determination that child pornography offenses are

extremely serious. Congress enacted the Prosecutorial Remedies and Other Tools to End the

Exploitation of Children Today Act of 2003 (the PROTECT Act, Public Law 108-21) in large

part to enhance the penalties for crimes involving the sexual exploitation of children. In support

of its enhanced sentences, Congress stated the following:

       (2)     “The Government has a compelling state interest in protecting children from
       those who sexually exploit them, including both child molesters and child pornographers.
       ‘The prevention of sexual exploitation and abuse of children constitutes a government
       objective of surpassing importance,’ New York v. Ferber, 458 U.S. 747 (1982).

       The PROTECT Act, Title V. - Obscenity and Pornography, Sec. 501. Findings.

The United States has a compelling interest in protecting children from individuals like the

defendant who seek to exploit them. The child sexual exploitation statutes are designed to

provide just punishment for the offenses that the defendant has committed. Congress reiterated

its societal concern for the prevention and punishment of child sexual exploitation, when it

enacted the Adam Walsh Child Protection and Safety Act of 2006, 18 U.S.C. § 2250 and 42

U.S.C. §§ 16911 et seq. (also known as SORNA). The continued Congressional focus on

additional protection of children from those who would exploit them by means including the

internet, strongly indicates that a sentence sufficient to reflect the seriousness of the offense is

warranted. The appellate courts have repeatedly stressed the strong societal interest in imposing

punishment which reflects the seriousness of child exploitation crimes and provides just


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Case 2:07-cr-00078-JRG-DHI Document 60 Filed 08/15/08 Page 3 of 7 PageID #: 69
punishment. See, for example, United States v. Presto, 498 F.3d 415, 421 (6th Cir. 2007) which

provides in pertinent part as follows:

       As the Supreme Court has recognized, the distribution of photographs and films
       depicting sexual activity by juveniles is intrinsically related to the sexual abuse of
       children in at least two ways. First, the materials produced are a permanent record
       of the children’s participation and the harm to the child is exacerbated by their circu-
       lation. Second, the distribution network for child pornography must be closed if the
       production of material which requires the sexual exploitation of children is to be
       effectively controlled.

      2B.      The need for the sentence imposed to afford adequate deterrence to criminal
conduct.

       There is no evidence that the defendant can be deterred from sexually deviant behavior,

other than incarceration. Moreover, the defendant’s admitted behavior indicates that the

defendant cannot control his deviant behavior without psychosexual treatment. A guideline

sentence will serve as a warning to other sexual deviants to control their aberrant behavior.

        2C.   The need for the sentence imposed to protect the public from further crimes
of the defendant.

       Society has a very strong interest in protection from the defendant, who has demonstrated

his complete inability to control his behavior. If he is released from custody, there is a

significant probability that defendant will again place himself in close proximity to children and

again lure them into inappropriate contact with him.

       The court should fashion a sentence which provides maximum protection to society,

particularly its most vulnerable members, from the defendant’s predatory sexual practices. The

United States respectfully suggests that the only sentence which will adequately protect society

is life imprisonment, which is within the sentencing advisory guideline range. The court may

determine that imprisonment within the advisory guideline range, with court-ordered


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Case 2:07-cr-00078-JRG-DHI Document 60 Filed 08/15/08 Page 4 of 7 PageID #: 70
psychosexual assessment and treatment, plus supervised release for life with stringent conditions

of release, as well as requiring the defendant to comply with the federal Sex Offender

Registration and Notification Act, will provide society sufficient protection from the defendant.

       2D.     The need for the sentence imposed to provide the defendant with needed
educational or vocational training, medical care, or other correctional treatment in the
most effective manner.

       Other than the need for psychosexual evaluationt, there is no evidence that this factor is

relevant at the present time. The defendant used his purported technical degree to facilitate the

commission of his crimes. His lack of formal education did not contribute to the crime.

       3.      The kinds of sentences available.

       The probation officer has correctly described the sentencing options available. Because

the defendant is guilty of violating 18 U.S.C. § 2252A(a)(2), the court may order supervised

release for a term up to life. 18 U.S.C. § 3583(k). Moreover, the court has the discretion to

order the defendant to register in compliance with the Sex Offender Registration and

Notification Act upon his release from prison. United States v. Burke, 252 Fed. Appx. 49, 2007

WL 3104779 (6th Cir. 2007)(affirming district court’s decision to order the defendant to register

under SORNA as a mandatory condition of supervised release, under the abuse of discretion

standard).

       4.     The kinds of sentence and the sentencing range established for the applicable
category of offense committed by the applicable category of defendant as set forth in the
guidelines.

       The presentence report correctly describes the guideline range for this defendant, as well

as the mandatory minimum sentences.




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Case 2:07-cr-00078-JRG-DHI Document 60 Filed 08/15/08 Page 5 of 7 PageID #: 71
       5.      Pertinent policy statement.

       There is no pertinent policy statement cited by the United States.

       6.     The need to avoid unwarranted sentence disparities among defendants with
similar records who have been found guilty of similar conduct.

       A sentence within the advisory guideline range would avoid disparities among similarly-

situated defendants and would encourage compliance with the child pornography statutes.

       7.      The need to provide restitution and order a monetary fine.

       The defendant has directly caused physical and mental health problems for his

stepdaughter, which will impose a lifetime of costs upon her and her family. The Court should

order the payment of restitution for these costs as well as a monetary fine.

                                           SUMMARY

       A reasonable sentence for this defendant would be life imprisonment, which is within the

advisory guideline range. A guideline range sentence is sufficient but not more than necessary to

reflect the nature and circumstances of the offense, the history and characteristics of the

defendant, the seriousness of the offense, to afford adequate deterrence, to protect the public

from further crimes perpetrated by the defendant, and to provide the defendant with needed

treatment for pedophilia. The defendant should be ordered to pay restitution for his victim and

to pay a fine. To the extent the Court does not impose a sentence of life imprisonment, the Court

should impose supervised release for the life of the defendant and order the defendant to comply

with the Sex Offender Registration and Notification Act, 18 U.S.C. § 2250 for the remainder of

his life, upon his release from imprisonment.



                                                 6


Case 2:07-cr-00078-JRG-DHI Document 60 Filed 08/15/08 Page 6 of 7 PageID #: 72
                                                   RESPECTFULLY SUBMITTED,

                                                   JAMES R. DEDRICK
                                                   United States Attorney


                                            By:    s/ Helen C.T. Smith
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                          Certificate of Electronic Filing and Service

I certify that I electronically filed the foregoing sentencing memorandum on August 15, 2008.
Nikki C. Pierce, the defendant’s attorney will receive a copy of the pleading via the court’s
electronic notice system. I have provided a copy of the memorandum to Cathy Deaderick, the
probation officer who prepared the presentence report.

                                                   s/ Helen C.T. Smith
                                                   Assistant United States Attorney




                                               7


Case 2:07-cr-00078-JRG-DHI Document 60 Filed 08/15/08 Page 7 of 7 PageID #: 73
